    Case 1:01-cv-12257-PBS Document 6942 Filed 03/04/10 Page 1 of 2




                   UNITED STATES DISTRICT COURT
                    DISTRICT OF MASSACHUSETTS
----------------------------------- x
IN RE PHARMACEUTICAL INDUSTRY       :
AVERAGE WHOLESALE PRICE             :
LITIGATION                          : MDL NO. 1456
                                    :
                                    : CIVIL ACTION: 01-CV-12257-PBS
----------------------------------- x
THIS DOCUMENT RELATES TO:           : Hon. Patti B. Saris
ALL ACTIONS                         :
                                    :
----------------------------------- x


     MOTION FOR ADMISSION OF ANDREW E. KRAUSE PRO HAC VICE

       Undersigned counsel requests that Andrew E. Krause be permitted to appear and

participate in this action pro hac vice as counsel for defendants AstraZeneca

Pharmaceuticals LP and AstraZeneca LP pursuant to Case Management Order (“CMO”)

No. 1, Section V., Paragraph 16, which states:

       Each attorney not a member of the Bar of this Court who is acting as counsel for a
       Plaintiff or Defendant herein and who is in good standing in any district court of
       the United States shall be deemed admitted pro hac vice to practice before this
       Court in connection with this action upon payment of the appropriate filing fee.

       Pursuant to CMO No. 1, attached hereto as Exhibit A is the Declaration of

Andrew E. Krause in Support of Application for Admission Pro Hac Vice certifying that

he has met the requirements to practice before the United States District Court for the

District of Massachusetts. A check in the amount of $50.00 is being forwarded

simultaneously with this motion for Mr. Krause’s admission pro hac vice.
     Case 1:01-cv-12257-PBS Document 6942 Filed 03/04/10 Page 2 of 2




Dated: March 4, 2010
                                       Respectfully submitted,



                                       By:
                                              /s/ Jeff Bone
                                              Jeff Bone (BBO #666688)
                                              Katherine B. Schmeckpeper (BBO #663200)
                                              Nicholas C. Theodorou (BBO #496730)
                                              FOLEY HOAG LLP
                                              155 Seaport Boulevard
                                              Boston, MA 02210
                                              (617) 832-1000 (Phone)
                                              (617) 832-7000 (Fax)

                                       Attorneys for AstraZeneca Pharmaceuticals LP and
                                       AstraZeneca LP




                               CERTIFICATE OF SERVICE

        I certify that a true and correct copy of the foregoing was delivered to all counsel of

record by electronic service pursuant to Paragraph 11 of Case Management Order No. 2,

by sending on March 4, 2010 a copy to LexisNexis File & Serve for posting and

notification to all parties.


                                                /s/ Jeff Bone
                                               Jeff Bone
